              Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 1 of 12




                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EMPLOYEES’ RETIREMENT
SYSTEM OF THE CITY OF ST.
PETERSBURG, FLORIDA, individually
and on behalf of all others similarly           No. 2:19-cv-02711-PD
situated,

                    Plaintiff,                  Hon. Paul S. Diamond
         v.

TEVA PHARMACEUTICAL
INDUSTRIES LTD., KARE SCHULTZ,
and MICHAEL McCLELLAN,

                    Defendants.


                     REPLY MEMORANDUM IN FURTHER
               SUPPORT OF DEFENDANTS’ MOTION TO TRANSFER




DB1/ 107917488.1
            Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 2 of 12




                                        TABLE OF CONTENTS

                                                                                                              Page
PRELIMINARY STATEMENT ..............................................................................1
ARGUMENT ............................................................................................................3
    I. TRANSFER IS APPROPRIATE UNDER THE FIRST-FILED RULE ....... 3
    II. ALTERNATIVELY, TRANSFER IS
        APPROPRIATE UNDER SECTION 1404(A) ..............................................7
    III. THIS COURT SHOULD NOT APPOINT
         A LEAD PLAINTIFF BEFORE TRANSFERRING THE CASE .................8
CONCLUSION .........................................................................................................8




DB1/ 107917488.1
            Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 3 of 12




                           PRELIMINARY STATEMENT

         Plaintiff, St. Petersburg, and non-party, Ontario Teachers, offer cursory

responses to Defendants’ Motion to Transfer, but no valid reason for allowing this

case alone to proceed in this Court, unlike every other securities actions currently

pending against Teva and individual co-defendants in federal court. Instead, they

devote their brief submissions on this topic to trying to find minor factual

distinctions between this case and the first-filed Ontario action. But their myopic

focus on such alleged distinctions is unavailing—not only because there is more

than sufficient overlap between this action and Ontario to justify transfer, but also

because Ontario is far from the only case that deserves consideration.

         As this Court has explained in its previous transfer rulings, cases need not be

complete mirror images to warrant transfer under the first-filed rule or 28 U.S.C.

§ 1404. See Phoenix Ins. Co. Ltd. v. Teva Pharm. Indus. Ltd., 381 F. Supp. 3d 416,

421, 423-24 (E.D. Pa. 2019); Grodko Order1 4-5, 8. Here, the core underlying

legal theory of the St. Petersburg Complaint, which St. Petersburg characterizes as

an undisclosed “antitrust conspiracy,” St. Petersburg Opp. (Dkt. No. 31) 13, also

figures as a central allegation in the Ontario action.         See Ontario Teachers’

Pension Plan Bd. v. Teva Pharm. Indus. Ltd., No. 3:17-cv-558, 2019 WL 4674839,

at *26 (D. Conn. Sept. 25, 2019) (holding that the Ontario plaintiffs “adequately

1
 Terms not otherwise defined herein have the meanings assigned to them in
Defendants’ moving brief (Dkt. No. 24) (“MB”).


DB1/ 107917488.1
            Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 4 of 12



alleged that the defendants were engaged in . . . a price-fixing conspiracy”). St.

Petersburg’s other main argument—that “no substantive motions have been

decided or briefed” in Ontario, St. Petersburg Opp. 12—was never true and is

plainly false in the wake of the recent Ontario ruling on the Teva Defendants’

motions to dismiss. Ontario, 2019 WL 4674839. The Ontario court has extensive

familiarity with the issues presented here, not only through two rounds of motions

to dismiss briefing and oral arguments on those motions, but also from presiding

over the hotly contested lead-plaintiff appointment process in that case.

Significant duplication of effort and needless expense would be saved by sending

this case to the same court for the same sorts of proceedings based on the same

legal issues.

         Regardless, Ontario is not the only relevant data point because, as

Defendants explained, more than twenty stock-drop lawsuits have been filed

against Teva during the past few years. MB 1. Even if Ontario were not enough

on its own to warrant transfer—and it is—these other cases pending in the District

of Connecticut provide more than enough additional overlap. For instance, as

Defendants have already observed, but St. Petersburg and Ontario Teachers ignore,

this Court has already ordered the transfer to Connecticut of cases involving Mr.

McClellan, in Phoenix, Clal Insurance and Mivtachim, and Mr. Schultz in Clal

Insurance and Mivtachim.       See MB 11, 15 n.7.     St. Petersburg and Ontario


                                         2
DB1/ 107917488.1
            Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 5 of 12



Teachers’ observation that those two individuals are not defendants in Ontario

therefore rings hollow. There is no legitimate reason to require those litigants to

face duplicative litigation here when they already face earlier-filed, overlapping

claims in Connecticut.

         For these reasons and others discussed herein, Defendants’ Motion to

Transfer should be granted.

                                    ARGUMENT

I.       TRANSFER IS APPROPRIATE
         UNDER THE FIRST-FILED RULE.

         St. Petersburg and Ontario Teachers do not deny that the Ontario litigation,

and other cases that have been filed in or transferred to Connecticut because of the

pending Ontario litigation, were filed well before the complaint in this action. See

St. Petersburg Opp. 10-11; Ontario Response (Dkt. No. 33) 1-3. Nor do they

dispute that the purposes of the first-filed doctrine require a “flexible approach”

that favors transfer when the cases are “substantially similar.” Phoenix, 381 F.

Supp. 3d at 419-20; Grodko Order 4-5. Instead, they insist, just like the Phoenix

plaintiffs, that this case is not truly “duplicative” of Ontario. That argument is no

more successful here than it was in Phoenix. Phoenix, 381 F. Supp. 3d 416, 421.

         First, both St. Petersburg and Ontario Teachers wrongly downplay the

inescapable fact that both this case and Ontario turn on the same claims and legal

theory: that Teva and its officers or employees violated Sections 10(b) and 20(a)


                                           3
DB1/ 107917488.1
            Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 6 of 12



of the federal Securities Exchange Act of 1934 by allegedly engaging in, and

failing to, disclose unlawful price-fixing of Teva’s generic drug products in

violation of the antitrust laws. Compare Ontario Compl. ¶¶ 15, 285-309; Ontario,

2019 WL 4674839, at *3, with St. Petersburg Compl. ¶¶ 2-12. Both complaints

purport to support these allegations by referring to the same two governmental

investigations: one first launched by the Connecticut Attorney General and the

other by the U.S. Department of Justice. Compare Ontario Compl. ¶¶ 11-12, 298-

301, with St. Petersburg Compl. 1-2, ¶¶ 3-5, 10. St. Petersburg acknowledges that

this alleged “antitrust conspiracy forms the gravamen of St. Petersburg’s case,” St.

Petersburg Opp. 13, but ignores that the same allegations underlie Ontario as well.

See Ontario, 2019 WL 4674839, at *15 (concluding, in part based on the DOJ and

Connecticut attorney general investigations, that “[v]iewing the allegations in the

light most favorable to the plaintiffs, the complaint has adequately pled a price-

fixing scheme”). Just as in Phoenix and Grodko, this overlap in claims (§§ 10(b)

and 20(a)) and theory of liability (undisclosed alleged price-fixing) is enough to

qualify as a “substantial overlap in subject-matter” sufficient to justify adherence

to the first-filed rule. Phoenix, 381 F. Supp. 3d at 422; Grodko Order 9-10.

         St. Petersburg and Ontario Teachers are left to quibble over the facts that

Ontario does not name Messrs. McClellan and Schultz as defendants and targets

alleged misstatements that predate the alleged misstatements in this case. But they


                                          4
DB1/ 107917488.1
            Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 7 of 12



fail to explain why either of these points should make a difference in light of

flexibility of the first-filed rule as well as the other cases now pending in

Connecticut where neither difference applies. They entirely ignore Defendants’

observation that Messrs. Schultz and McClellan are named individually in other

actions that have been transferred to the Connecticut court. See Clal Compl. ¶¶ 38-

39; Mivtachim Compl. ¶¶ 35-36. Both are also named individually in actions that

were originally filed in the Connecticut court before this action was filed here. See

Complaint, Migdal Ins. Co. v. Teva Pharm. Indus. Ltd., 19-cv-655-SRU (D. Conn.)

(filed April 30, 2019); Complaint, Migdal Mut. Funds, Ltd. v. Teva Pharm. Indus.

Ltd., 19-cv-923-SRU (D. Conn.) (filed June 13, 2019) (“Migdal Mut. Compl.”).

Mr. McClellan was also a defendant in the Phoenix action, and that did not

dissuade the Court from ordering transfer. Phoenix, 381 F. Supp. 3d at 421.

         St. Petersburg and Ontario Teachers also ignore that the relevant periods in

many of the other cases now pending in Connecticut cover the time period in this

case (August 4, 2017 to May 10, 2019). The Phoenix time period extends to

February 8, 2018. Phoenix, 381 F. Supp. 3d at 421. The time periods in the

transferred Clal Insurance and Mivtachim cases stretch further, to December 10,

2018. Clal Compl. ¶ 1; Mivtachim Compl. ¶ 1. And the time period in another

case that was originally filed in Connecticut—before this case was filed in this

Court—stretches further still, to May 30, 2019. Migdal Mut. Compl. ¶ 1. Its


                                           5
DB1/ 107917488.1
            Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 8 of 12



allegations of an unlawful antitrust conspiracy overlap completely with this case—

contrary to St. Petersburg’s unsupported insistence that the “litigation pending in

the District Connecticut” does not cover its allegations here. St. Petersburg Opp.

13.

         Unable to escape the overlap between its case and the earlier-filed cases in

Connecticut, St. Petersburg falsely claims that “[n]o discovery has been taken or

served, and no substantive motions have been decided or briefed” in Connecticut.

Id. at 12. That is no longer true, and never was. Again, St. Petersburg simply

ignores Defendants’ arguments, which noted that Judge Underhill issued a 28-page

opinion appointing a lead plaintiff and that the Ontario parties submitted lengthy

briefs in two rounds of motions to dismiss. MB 17-18. Since the filing of St.

Petersburg’s opposition, Judge Underhill has now issued a 74-page motion-to-

dismiss opinion, and discovery is getting underway. Ontario, 2019 WL 4674839.

         Lastly, St. Petersburg maintains that “exceptional circumstances” weigh

against transfer because prospective lead plaintiff, HMG, purportedly does not

want this Court to review the character of its proposed class counsel.            St.

Petersburg Opp. 14. But this consideration is plainly irrelevant to Defendants’

request to transfer, as Defendants “filed none of the actions at issue here.”

Phoenix, 381 F. Supp. 3d at 422; Grodko Order 11. HMG, on the other hand, like

St. Petersburg, is merely a prospective lead plaintiff, whereas Defendants are


                                           6
DB1/ 107917488.1
            Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 9 of 12



actual, current parties in this case. Particularly when there is no reason for this

Court even to decide HMG’s and St. Petersburg’s competing arguments for lead-

plaintiff status before ruling on Defendants’ Motion to Transfer, see infra Section

III; Dkt. No. 25, any alleged misconduct by HMG is irrelevant to the

appropriateness of transfer.

         In short, there simply are no extraordinary circumstances here that could

preclude transfer given the pendency of Ontario and other substantially

overlapping, earlier-filed litigation in the District of Connecticut.

II.      ALTERNATIVELY, TRANSFER IS
         APPROPRIATE UNDER SECTION 1404(A).

         St. Petersburg’s latest arguments against transfer under 28 U.S.C. § 1404(a)

add nothing to their unpersuasive arguments the first-filed rule.         Again, St.

Petersburg insists that “there are significant and meaningful differences between

this case” and the many Connecticut actions, and also insists that the Connecticut

litigation has not “advanced past the pleading stage.” St. Petersburg Opp. 14. But,

as was just explained, neither claim is true.         Ontario, individually, and the

Connecticut litigation taken as a group, involve completely overlapping claims,

parties, time periods, and legal theories.        That overlap makes it far more

convenient and efficient to litigate this action alongside the nearly twenty actions

moving forward after the Connecticut court’s motion to dismiss ruling.




                                           7
DB1/ 107917488.1
           Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 10 of 12



         Here, as in Phoenix and Grodko, the Jumara factors favor transfer,

especially in light of the related litigation already progressing in Connecticut.

Phoenix, 381 F. Supp. 3d at 423-24; Grodko Order 12-13, 15.

III.     THIS COURT SHOULD NOT APPOINT A LEAD
         PLAINTIFF BEFORE TRANSFERRING THE CASE.

         Finally, St. Petersburg again ignores Defendants’ grounds for arguing that

lead plaintiff appointment should not occur before transfer. See MB 22-23; see

also Dkt. No. 25. As this Court explained in Grodko, such an appointment could

undermine the PSLRA’s structure and “Judge Underhill’s management of the

Connecticut action.” Grodko Order 15. St. Petersburg offers no authority for its

contrary suggestion, and merely asserts, unpersuasively, that it would be

burdensome for Judge Underhill to consider the adequacy of HMG’s proposed

class counsel.     Defendants respectfully suggest that Judge Underhill is fully

capable of reviewing the prospective lead plaintiffs’ submissions and coming to his

own informed judgment based on his familiarity with the lead-plaintiff process in

the Ontario action.

                                  CONCLUSION

         For these reasons and the reasons in Defendants’ opening Memorandum of

Law, Defendants’ Motion to Transfer (Dkt. No. 24) should be granted.




                                          8
DB1/ 107917488.1
           Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 11 of 12



DATED: October 9, 2019                 Respectfully submitted,

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                                         9
DB1/ 107917488.1
           Case 2:19-cv-02711-PD Document 36 Filed 10/09/19 Page 12 of 12




                            CERTIFICATE OF SERVICE

         I hereby certify that on this 9th day of October, 2019, a true and correct copy

of the foregoing Reply Memorandum in Further Support of Defendants’ Motion to

Transfer was served by CM/ECF to the parties registered to the Court’s CM/ECF

system.



                                         /s/ Marc J. Sonnenfeld
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                                           10
DB1/ 107917488.1
